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                        UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF LOUISIANA


CATHERINE BROWN                                             CIVIL No.        21-1844

versus                                                     JUDGE:            JTM

MINYANGO TOKPAH, SHAKIM HARRIS,                            MAGIS:             JVM
TANISHA WRIGHT, ANDREA MICHELLE
STEWART, JONTE MILLER, and
THERESA D. BRUNSON


   SUPPLEMENTAL MEMORANDUM IN SUPPORT OF PLAINTIFF
      CATHERINE BROWN’s MOTIONS FOR ORDER OF A
               PRELIMINARY INJUNCTION

       NOW COMES plaintiff/petitioner CATHERINE BROWN, through

undersigned counsel, and respectfully files here her Supplemental Memorandum in

Support of her Motion for Order of Preliminary Injunction filed in anticipation of her

scheduled December 14, 2021 hearing and Oral Argument of her Rule to Show

Cause why the requested relief should not be ordered.

       Plaintiff has filed an Amended Complaint and Petition for Damages,

clarifying certain claims and correcting mistakes and artifacts from other non-

related case filings that were inadvertently left in the draft of Plaintiff’s original

Complaint and Petition for Damages filed herein. Plaintiff also files here this

Supplemental Memorandum reflecting those amendments and parties actually

named defendant here.
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Updated Status of Service of Process upon Defendants:

        Undersigned counsel for plaintiff/petitioner CATHERINE BROWN, on or

about November 12, 2021 initiated Service of Process of all necessary and related

pleadings in this matter, including but not limited to the Court’s Order noticing the

Hearing scheduled for December 14, 2021 at 10:00a.m. in this Court, as well as all

Complaints, Memoranda, Notices and documents filed here as Exhibits, via United

States Post Office Certified Mail, upon each the following SIX named and

identifiable defendants, which are MINYANGO TOKPAH, SHAKIM HARRIS,

TANISHA PRICE, ANDREA MICHELLE STEWART, JONTE MILLER, and

THERESA D. BRUNSON, the six defendants involved and with identifiable

addresses. The status of service of process upon each respective defendant are

as follows:

•      MINYANGO TOKPAH - US Post Office returned the attempted Service of

       Process as being the wrong address;

•      SHAKIM HARRIS - US Post Office returned the attempted Service of

       Process as being the wrong address;

•      TANISHA PRICE, also known as TANISHA WRIGHT or TANISHA WRIGHT

       PRICE – US Post Office has identified her as being served on November 18,

       2021 via Certified US Mail (See Return filed into the Court record). On or

       about November 20, 2021, a person identifying herself by this name called

       on telephone undersigned Plaintiff’s counsel, claiming that she was not the

       correct person, that the above names were not hers, and that the Plaintiff

       was “crazy”. Some days later undersigned counsel was contacted by a local


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       Louisiana attorney who discussed the litigation with Plaintiff’s counsel, and

       informed undersigned that he may or may not enroll on behalf of this

       defendant. Undersigned has had no contact with that potential defense

       counsel for at least the past ten days.

•      ANDREA MICHELLE STEWART - US Post Office has identified this

       defendant as being served on November 17, 2021 via Certified US Mail (See

       Return filed into the Court record).

•      JONTE MILLER - US Post Office has identified this defendant as being

       served on November 15, 2021 via Certified US Mail (See Return filed into

       the Court record). Despite the Return Receipt, signed on the above date

       presumably by this defendant, as well as Post Office records (attached to the

       Return on Service Of Process filed herein), the actual unopened pleadings

       were returned to undersigned counsel’s law office by US Mail.

•      THERESA D. BRUNSON - US Post Office has identified this defendant as

       being served on November 15, 2021 via Certified US Mail (See Return filed

       into the Court record).



Updated Rule 65 E-mail Notices and Services of Pleadings upon
Defendants:

       On or about December 6, 2021, Plaintiff’s undersigned counsel served and

copied all of the following defendants and parties, as well as YouTube’s legal

department (Plaintiff’s motion requests an order prohibiting YouTube from allowing

defendants to use their internet broadcast channels to threaten or defame her), via



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transmission to each at the below-listed email addresses, with undersigned sending

to each of them all necessary and related pleadings in this matter, including but not

limited to the Court’s Order noticing the Hearing scheduled for December 14, 2021

at 10:00a.m. in this Court, as well as all Complaints, Memoranda, Notices and

documents filed here as Exhibits, via United States Post Office Certified Mail, upon

each the following:



JONTE MILLER at: jlm144332@gmail.com

THE ORACLE at: thevintagegarden20150103@gmail.com

MINYANGO TOPKAH (POETIK FLAKKO) at: flakkopoetik@gmail.com

SHAKIM HARRIS at: amenrauniversity@gmail.com

TANISHA WRIGHT at: tanishalynnprice@gmail.com

SCARLIT at: heatofalover@gmail.com

SLANDERGOD (POSITIVELY HATE PODCAST) at: godofslander@gmail.com

ANDREA STEWART/ANTI AFRO SVENGALIS at: doxerumarjohnson@gmail.com

THERESA D. BRUNSON at: tdbrunsonesq@aol.com

TCTV at: thegoodguys2624@gmail.com

GHOST at: thegoodguys2624@gmail.com

GOOD GUY PODCAST at: thegoodguys2624@gmail.com

DONALD MURRAY at: icdon502@gmail.com

GGOGLE, LLC, doing business as YouTube at: legal@support.youtube.com




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        As of this date, December 9, 2021, 2021, Plaintiff’s undersigned counsel

has not had even one of these e-mail transmissions noticed to any defendant or

listed entity as having not been received, or returned to undersigned as

undeliverable or being wrong/bad email addresses, and presumes all of these items

to have been delivered to each respective defendant and party listed, for any of his

email communications and service of pleadings upon any of the above-mentioned

persons or parties. This includes Plaintiff’s undersigned counsel’s email

transmissions of December 6, 2021, October 13, 2021, and October 5, 2021,

whereupon Plaintiff’s counsel served by email to EACH of the above

persons/entities those copies of all filed and related pleadings involved in this

litigation.

       Plaintiff counsel did receive, on the date of December 6, 2021, an automated

response from YouTube’s Legal Support Team, who inform that this department will

“review” the pleadings and notice of hearing served upon them. Other than the

aforementioned contacts involving defendant TANISHA PRICE and her potential

defense counsel mentioned above in November, 2021, undersigned counsel has to

date received no contact with any defendant, or counsel, or representative or

potential counsel since October 5, 2021 when undersigned first notified all such

defendants and parties of the Plaintiff’s intent to file this litigation and copied all

such persons with all related pleadings.

        Further, undersigned counsel has to date received no contact with any

defendant, or counsel, or representative or potential counsel since October 13,

2021 when undersigned again notified all such defendants and parties of the



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Plaintiff’s intent to file this litigation and copied all such persons with all related

pleadings, including Plaintiff’s Amended Complaint/Petition for Damages.

       Petitioner’s Counsel further certifies that on October 13, 2021, Plaintiff’s

undersigned counsel served/copied all of the following defendants and parties, as

well as YouTube’s legal department (Plaintiff’s motion requests an order prohibiting

YouTube from allowing defendants to use their internet broadcast channels to

threaten or defame her), via transmission to each at the below-listed email

addresses, with undersigned sending to each of them all necessary and related

pleadings in this matter.



Continuing Threats and Harassment of Plaintiff – post-Lawsuit filing:



     Petitioner of CATHERINE BROWN, since the filing of her original and

amending Complaints/Petitions for Damages, has experienced continued

harassment and threats to her. She relates to undersigned counsel of the following

incidents and items, which she will expound upon in live testimony at the upcoming

December 14, 2021 Hearing in this matter. The Plaintiff is quoted, in “first person”,

as follows:


1.) On November 28, 2021, in internet broadcasts, Defendant Tanisha Price (aka

Black Lounge Entertainment, aka “Tpri”) threatened to "pull up" (Drive by shooting)

on me, and to "beat my ass" as well. She is upset over the fact that I was forced to




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file a federal case against her for slandering, defaming and inciting violence against

me. The name of the video posted by this defendant is "Tpri threatening".

2.) On the date of posted internet video of -OCTOBER 9, 2021- Please see in the

snapshots below where defendant/actor Don M. made an entire video telling

hundreds of people that I (plaintiff) stalked him for information about Umar

Johnson. This is a complete lie. That's not the part that harms me, however.

3.) The part that harms me is that he stated that I (plaintiff) was wanting to pay for

sex. This is an absolute lie. Please see the comments of the viewers stating that I

was mad because no one wanted to "crack it"(HAVE SEX WITH ME). This type

slander has caused these men online to believe that I pay for sex. See attachment

named SEXUALIZED BULLYING

NOTE: The purpose of them sexualizing me is to humiliate me as well as devalue

me so that others have no problem joining their harassment of me.

4.) Please see on November 7, 2021 defendant/actor Don M threatened to kill me

because of my going to Federal Court on him. He referenced me as a chatty patty

in a rap he made dedicated to me while showing my name through out the video

rap. He ended the internet-posted broadcast with "fatality is my reality".

Please see attachment (snapshot labeled "November 7, 2021 threat to kill me by

Don M" and video labeled "Rap Threatening my life".

5.) Please see on video dated NOVEMEBER 21 2021, where TPRI, DON M and

SHAKEM RA admitted that they were served (with this lawsuit) and they actually

laughed at the document calling it fake and a lie that I (plaintiff) was telling. They

did so to disregard the filing so that they are able to continue to have the trolls paid



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them to harass me with no worries. The attachment for this video is entitled

"ADMITTED BEING SERVED'

  ADMITTED BEING SERVED.mp4

6.) On October 6, 2021 after being served (presumably the October 5, 2021 Rule

65 email Notice of Intent to File Lawsuit and related TRO), in disregard for the

lawsuit being served, defendant/actor Slandergod aka “POSITIVELY HATE”) and

Don M had a broadcast where they began harassing me calling me a sexually

explicit (bitch) to thumb their nose at the court. They were discussing the lawsuit

that I had filed. This is an extensive video and very long. However, below is an

attachment labeled PAID TO HARASS ME. where Don M said that he'd only say

my name if his cash app flowed. The cash app flowed and later in the video, he

began calling me bitches and hoes. See attachment "PAID TO HARASS ME".

7.) On November 15, 2021, defendant/actor Spotem Shotem is impersonating me

(plaintiff) online while harassing and sexually abusing a woman (he said that she

"liked big dicks") using my name to stir up hate. HOW DO WE KNOW IT'S

“SPOTEM SHOTEM”? Because on NOVEMBER 11, 2021, he asked for the link to

get on the panel USING MY NAME...and it was HIM.

Please see the attachment entitled SPOTEM'S IMPERSONATION OF ME

ONLINE. It has all the dates these things were done.




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8.) On November 28, Anti Afro Svengalis (Andrea Stewart), was being interviewed.

During this video, named defendant Andrea Stewart accused me of passing around

pornographic pictures of Lenon Honor's anus passed around by a male who

claimed that he had a sexual encounter(s) with Lenon Honor. This is absolutely

false. However, Lenon Honor has 60 thousand YouTube/internet broadcast

subscribers. I've never seen any pictures of Lenon Honor's anus nor do I want to do

so.

The KEY contradiction to her reason for "outrage" against me is that she chats in

chatrooms with the content creators who are actually RESPONSIBLE for passing

out these photos of Lenon Honor's anus.

9.) Andrea Stewart said this to perpetuate the hatred and violence toward me by

the thousands of Anti Fraud Warrior viewers (supports) and Lenon Honor's tens of

thousands of viewers (supporters).

10.) I have the video footage of Andrea Stewart making these statements. The

video is 4 hours long. I will cut the video down before the weekend.



Plaintiff intends to bring her computer to Court and to provide manageable length

records of the defendants’ and other actors’ related YouTube internet broadcasts

sought which threaten and defame her and are sought ordered to be prohibited by

Court Order here.



Prayer

      Wherefore, Plaintiff CATHERINE BROWN prays that after hearing before this



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Court on December 14, 2021 of her request for Preliminary Injunction ordering the

relief requested here, that their be a Court Order entered here directing the named

defendants, MINYANGO TOKPAH, SHAKIM HARRIS, TANISHA PRICE, ANDREA

MICHELLE STEWART, JONTE MILLER, and THERESA D. BRUNSON, DONALD

MURRAY, the ANTI FRAUD WARRIORS, LLC, as well as these additional to-be-

identified, defendant-aligned actors alleged here committing illegal, damaging and

tortuous acts, including but not limited to the “ANTI FRAUD WARRIORS, LLC”,

“TCTV”, “GHOST”, “GOOD GUY”, “SLANDERGOD”, “POSITIVELY HATE”,

“SPOT3M SHOT3M”, “THE ORACLE”, “GENERAL D”, “SCARLIT”, “DON M” and

“BLACK LOUNGE ENTERTAINMENT”, as well as all associates and affiliates of

the named defendants and all aligned and unnamed defendants and affiliates,

GRANTING her related Request for a Preliminary Injunction ordering the defendant

individuals and affiliates, named or unnamed, to be ordered by this Court to

immediately cease their continual and ongoing pattern of online public broadcasts

on YouTube channels and in online public chat rooms comments and postings,

which amount to their cyber stalking, harassment, defamation, and actual threats to

the Petitioner’s safety, as well public online broadcasted attacks upon the

Petitioner’s reputation, business interests, life and safety.

       Petitioner seeks an order from this Court prohibiting their described ongoing

and persistent harassment of Petitioner, which are both criminal violations and civil

tortuous acts committed by those defendants as described in her foregoing

Complaint/Petition and sworn Affidavit detailing dates, episodes and damage

caused to her by these defendants’ intentional acts.



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       Petitioner attests in her attached Affidavit details of those episodes and

instances of threats and intimidation alleged by her committed by these defendants

over this past calendar year, that has reasonably caused her to fear for the safety

and lives of herself and loved ones.



CONCLUSION

     Petitioner CATHERINE BROWN, as soon as practicable, respectfully

requests that this Court issue orders imposing upon all concerned a Preliminary

Injunction estopping and prohibiting the named defendants, as well as unnamed

actors, as well as all associates and affiliates of the named defendants, from their

continuing pattern of intentional continual and ongoing pattern of cyber stalking,

harassment, defamation, extortion, threats to her life and safety, and other cyber

and online harassment of this Plaintiff, which are in violation of several Federal and

State of Louisiana criminal laws, as well as civil law claims brought here subject to

complete Diversity Jurisdiction, this matter in controversy and quantum value of

Petitioner’s claims exceeding $75,000.00, and with the application of State of

Louisiana tort law to determine the actionability and recovery for Petitioner’s losses

in tort here.

       Further, Petitioner also requests that this Court issue an order after a

hearing and granting of a Preliminary Injunction, ordering that the online entities

Google and it’s YouTube branch be directed by this Court order to discontinue

allowing any defendant or aligned entity from posting any additional online threats,

defamation and harassment of your Petitioner by each defendant and all affiliated



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persons or entities, that all existing online threats, defamation and harassment of

your Petitioner by each defendant and all affiliated persons or entities be removed

from view,




                              Respectfully Submitted,


                               Dominic N. Varrecchio
                               ___________________________
                              Dominic N. Varrecchio (La. Bar #19456)
                              1539 Jackson Avenue, Suite 100
                              New Orleans, LA 70130
                              Telephone: (504) 524-8600
                              Email: knic55@cox.net
                              Attorney for Petitioner


                          CERTIFICATE OF SERVICE

    I hereby certify that a copy of the above and foregoing, together with all
related pleadings involved in this filing, have been served upon all parties
and/or their counsel by the CM-ECF electronic filing system for the United
States District Court, as well via actual service of process of the related
Petition/Complaint, Request For Preliminary Injunction and Notice of Hearing
of Temporary Restraining Order upon those defendants of those items
together with Summons to Appear. Petitioner further has also served all
related filings here via E-mail to all defendants where E-mail addresses are
available to Petitioner and Counsel, as certified and explained in the attached
Rule 65 Certification. This 10th day of December, 2021.

                          Dominic N. Varrecchio
                        _________________________
                         DOMIINIC N. VARRECCHIO




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